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CONSENT FOR SARS-CoV-2 TESTING

The U.S. Centers for Disease Control and Prevention (CDC) is providing BOP with technical assistance for a BOP
project intended to understand more about COVID-19 transmission and the protective behaviors and practices
taken within correctional and detention facilities. You are invited to participate voluntarily in this project
regarding COVID-19 transmission. Participation should take no more than 15 minutes of your time.

This project has two parts. First, we invite you to respond to a brief questionnaire including general information
about yourself. The questionnaire should take no more than 10 minutes of your time.

Second, we will ask to conduct a nasopharyngeal swab test for SARS-CoV-2, the virus that causes COVID-19
illness. The test should take no more than S minutes of your time to complete. Risks of the procedure include
mild discomfort, and possibly nose bleeding or dizziness. The results of the nasopharyngeal swab will be shared
with BOP medical staff within 3 to 5 days. Test results will be shared back with you by appropriate BOP staff.

Participation in this project is voluntary. Testing results, demographic, and health information will be sent to the
Arkansas Department of Health.

For any questions or concerns, contact eocevent206@cdc.gov with the subject line “Forrest City BOP.”

By signing below, you are agreeing to participate in this project.

 

Printed name

 

Signature

 

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Date

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